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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                   )
PATRICIA A. AMERAL,                                )
                                                   )
               Plaintiff,                          )
                                                   )
               v.                                  )          Civil Action No. 24-cv-12942-LTS
                                                   )
KENNETH C VINING, et al.,                          )
                                                   )
               Defendants.                         )
                                                   )


                                              ORDER

                                        November 26, 2024

SOROKIN, D.J.

       In this action, pro se plaintiff Patricia A. Ameral alleges, inter alia, that she is being

wrongfully evicted from a property where she has lived for 36 years and to which she still claims

title. Ameral has filed a motion captioned as an “Emergency Motion for Preliminary Injunction

Against Execution for Possession Upon Her Property and Home by the State Housing Court,

Constitutional Due Process Violations Alleged.” (Docket No. 2).

       The Court DENIES the motion for injunctive relief. The Court has no authority to

require a state court to stay execution of its own judgment. Under the Anti-Injunction Act, “[a]

court of the United States may not grant an injunction to stay proceedings in a State court except

as expressly authorized by Act of Congress, or where necessary in aid of its jurisdiction, or to

protect or effectuate its judgments.” 28 U.S.C. § 2283. The Anti-Injunction Act “is a necessary

concomitant of the [decision of the Framers of the Constitution] to authorize, and Congress’

decision to implement, a dual system of federal and state courts.” Smith v. Bayer Corp., 564
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U.S. 299, 306 (2011) (quoting Chick Kam Choo v. Exxon Corp., 486 U.S. 140, 146 (1988)).

The Anti-Injunction Act’s “core message is one of respect for state courts,” and it “commands

that those tribunals ‘shall remain free from interference by federal courts.’” Id. (quoting Atlantic

Coast Line R. Co. v. Locomotive Eng’rs, 398 U.S. 281, 282 (1970)). Here, the relief Ameral

seeks falls within the judicial action prohibited by the Anti-Injunction Act. 1

       To the extent that Ameral brings claims directly under 42 U.S.C. § 1983 against the

Commonwealth’s Housing Court for allegedly violating her right to due process during the

summary process proceeding, said claims fail as a matter of law. States (including their

departments and agencies and state officials acting in their official capacities) are not subject to

suit under 42 U.S.C. § 1983 in state or federal courts. See Will v. Michigan Dep’t of State

Police, 491 U.S. 58, 71 (1989) (holding that neither states nor state officials acting in their

official capacities are “persons” subject to liability under 42 U.S.C. § 1983). 2

       Further, pursuant to the Eleventh Amendment to the United Status Constitution, a state

(including its departments) has immunity from suit in a federal court unless (1) the state has

waived its immunity; or (2) Congress has abrogated the state’s immunity. See Va. Off. for

Protection & Advoc. v. Stewart, 563 U.S. 247, 253-54 (2011); Whalen v. Mass. Trial Ct., 397

F.3d 19, 28-30 (1st Cir. 2005) (state trial court entitled to Eleventh Amendment immunity).




1
  There are three exceptions to the Anti-Injunction Act: “when [the injunction is] expressly
authorized by statute, necessary in aid of the court’s jurisdiction, or necessary to protect of
effectuate the court’s judgment.” Chick Kam Choo, 486 U.S. at 146. These exceptions, none of
which are present in this action, “are designed to ensure the effectiveness and supremacy of
federal law.” Id.
2
 A § 1983 claim against an individual judicial officer for injunctive relief would not fare any
better. “[I]n any [§ 1983] action brought against a judicial officer for an act or omission taken in
such officer’s judicial capacity, injunctive relief shall not be granted unless a declaratory decree
was violated or declaratory relief was unavailable.” 42 U.S.C. § 1983.
                                                  2
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Here, Massachusetts has not waived, nor has Congress abrogated, the state’s Eleventh

Amendment immunity with regard to Ameral’s claims.

       Accordingly, the Emergency Motion for Preliminary Injunction (Docket No. 2) and

Motion for Emergency Hearing (Docket No. 5) are DENIED. All other pending motions shall be

addressed by separate order. Summonses shall issue only upon order of the Court.

       SO ORDERED.
                                                  /s/ Leo T. Sorokin
                                                  UNITED STATES DISTRICT JUDGE




                                              3
